 Case 2:07-cv-03239-TJH-RNB Document 281-2 Filed 02/08/13 Page 1 of 4 Page ID
                                  #:3716


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7
8
                            UNITED STATES DISTRICT COURT
9
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                     WESTERN DIVISION
11
     ALEJANDRO RODRIGUEZ,                      )   Case No. CV-07-3239-TJH (RNBx)
12   ABDIRIZAK ADEN FARAH,                     )
     YUSSUF ABDIKADIR, ABEL PEREZ              )
13   RUELAS, JOSE FARIAS CORNEJO,              )   DECLARATION OF LUIS E.
     ANGEL ARMANDO AYALA, for                  )   GONZALEZ
14   themselves and on behalf of a class of    )
     similarly-situated individuals,           )   Honorable Terry J. Hatter
15                                             )
                 Petitioners,                  )   Date: May 6, 2013
16                                             )   Time: Under Submission
                 v.                            )
17                                             )
     ERIC HOLDER, United States Attorney       )
18   General; JANET NAPOLITANO,                )
     Secretary, Homeland Security;             )
19   THOMAS G. SNOW, Acting Director,          )
     Executive Office for Immigration          )
20   Review; TIMOTHY ROBBINS, Field            )
     Office Director, Los Angeles District     )
21   Immigration and Customs Enforcement;      )
     WESLEY LEE, Officer-in-Charge, Mira       )
22   Loma Detention Center; et al.;            )
     RODNEY PENNER, Captain, Mira              )
23   Loma Detention Center; SANDRA             )
     HUTCHENS, Sheriff of Orange County;       )
24   OFFICER NGUYEN, Officer-in-               )
     Charge, Theo Lacy Facility; CAPTAIN       )
25   DAVIS NIGHSWONGER, Commander,             )
     Theo Lacy Facility; CAPTAIN MIKE          )
26   KREUGER, Operations Manager, James        )
     A. Musick Facility; ARTHUR                )
27   EDWARDS, Officer-in-Charge, Santa         )
     Ana City Jail; RUSSELL DAVIS, Jail        )
28   Administrator, Santa Ana City Jail,       )


                                DECLARATION OF LUIS E. GONZALEZ
Case 2:07-cv-03239-TJH-RNB Document 281-2 Filed 02/08/13 Page 2 of 4 Page ID
                                 #:3717
Case 2:07-cv-03239-TJH-RNB Document 281-2 Filed 02/08/13 Page 3 of 4 Page ID
                                 #:3718
Case 2:07-cv-03239-TJH-RNB Document 281-2 Filed 02/08/13 Page 4 of 4 Page ID
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